                                                                                        FILED
                                                                                        CLERK
                                                                             3:01 pm, Mar 09, 2022
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK                                                 U.S. DISTRICT COURT
                                           X                               EASTERN DISTRICT OF NEW YORK
                                                                                LONG ISLAND OFFICE
  JIMMY MUSTAKIS, individually and on behalf
  of all others similarly situated,
                                                        MEMORANDUM AND
                             Plaintiff,                 ORDER
               - against -                              20-CV-5895 (GRB)(AYS)

  CHATTEM, INC.
                             Defendant.
                                                    X

GARY R. BROWN, United States District Judge:

  “There has been a general consensus of opinion throughout the world that salicylic acid is a
very harmful substance . . ..” – Adulteration of Food: Report, Returns and Statistics of the Inland
                          Revenues of the Dominion of Canada (1907)

       Plaintiff, Jimmy Mustakis, brings this action against defendant Chattem, Inc., the maker of

“Selsun Blue Naturals” anti-dandruff shampoo (the “Product”).          Alleging that defendant’s

“Naturals” branding misleads consumers into believing their shampoo contains no synthetic

ingredients, plaintiff brings claims under New York General Business Law Section 349 (“GBL §

349”), Section 350 (“GBL § 350”) and unjust enrichment. Defendant now moves to dismiss under

Fed. R. Civ. P. 12(b)(1), 12(b)(2), and 12(b)(6). For the reasons stated below, the motion to

dismiss is granted.

       Procedural History

       In December 2020, plaintiff commenced this action against Sanofi US. See Docket Entry

(“DE”) 1. On March 4, 2021, the Court held a pre-motion conference regarding an anticipated

motion to dismiss. DE 17. Because Sanofi US is not a legal entity and does not manufacture the

Product, the Court granted leave to amend the complaint to sue the correct party, Chattem, Inc. Id.

at 7:13-17; 29:16-24. On March 18, 2021, plaintiff filed an amended complaint against Chattem,


                                                1
Inc. DE 15, Amend. Compl.. Plaintiff brought the action on behalf of himself and those similarly

situated, seeking certification of both a nationwide class and a New York subclass. Id., ¶¶ 34-35.

On May 26, 2021, defendant filed the instant motion to dismiss pursuant to Rule 12. DE 19. 1

           Facts

           Plaintiff is an individual consumer who, at all relevant times, was a citizen of New York.

DE 15, Amend. Compl., ¶ 29. Defendant, Chattem, Inc., is a Tennessee corporation with its

principal place of business in Bridgewater, New Jersey. Id., ¶ 32. Defendant manufactures,

markets, and distributes “Selsun Blue Naturals” throughout the US. Id., ¶ 32. Plaintiff purchased

the Product multiple times in 2020 at various Walmart locations, including Long Island. Id., ¶ 29.

           The Product, seen below, is an anti-dandruff shampoo which treats dandruff and itchy dry

scalp. Id., ¶¶ 1, 6. The term “Naturals” appears prominently on the front label in green font. Id.,

¶ 6. Directly below, the container states, “Antidandruff Shampoo / Salicylic acid 3%.” Id.

Notably, the font used to display the phrase “Antidandruff Shampoo” is the same size, style, color

and prominence as that employed for “Salicylic acid 3%.”




1
    Plaintiff has withdrawn his request for injunctive relief. DE 20, Pl. Opp. at 23.

                                                             2
Id. While the Product displays the word “Naturals” on the front label, the Product contains

synthetic ingredients including disodium EDTA, panthenol, and benzyl alcohol. Id. The back




                                            3
label, 2 seen below, lists under “Drug Facts” the active ingredient salicylic acid, which occupies a

position of greater prominence than the remaining ingredients.




         DE 19-2 at 4.

         Plaintiff paid $6.98 for the Product, and alleges that he would not have been willing to pay

the same amount for the Product, and, consequently, would not have been willing to purchase the

Product, without the “Naturals” designation. DE 15, ¶¶ 29, 30.

         Standard of Review

         Motions to dismiss are decided under the well-established standard of review for such

matters, as discussed in Burris v. Nassau County District Attorney, No. 14-5540 (JFB) (GRB),



2
 Although the back label of the Product is not in the complaint but rather is attached as an exhibit to defendant’s
motion to dismiss, it may properly be considered because it is incorporated by reference in the complaint. See DE
15, Amend. Compl., ¶ 6 (listing alleged synthetic ingredients on back label). “A complaint is deemed to include . . .
materials incorporated in it by reference . . ..” Sira v. Morton, 380 F.3d 57, 67 (2d Cir. 2004) (citations omitted).

                                                          4
2017 WL 9485714, at *3–4 (E.D.N.Y. Jan. 12, 2017), adopted by 2017 WL 1187709 (E.D.N.Y.

Mar. 29, 2017), and incorporated by reference herein. The gravamen of that standard is whether,

assuming the allegations of the complaint to be true, the complaint sets forth factual material to

render the claims plausible.

       New York General Business Law §§ 349, 350

       In Scholder v. Sioux Honey Ass’n Coop., No. CV 16-5369 (GRB), 2022 WL 125742, at

*2–3 (E.D.N.Y. Jan. 13, 2022), this Court summarized the applicable legal standards for claims

arising under GBL § 349 and GBL § 350:

       Section 349 of the New York General Business Law (“GBL”) prohibits “deceptive acts
       and practices in the conduct of any business, trade or commerce or in furnishing of any
       service.” N.Y. Gen. Bus. Law § 349. A deceptive act or practice is one that is “likely to
       mislead a reasonable consumer acting reasonably under the circumstances.” Maurizio v.
       Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000). Section 350 prohibits “[f]alse advertising in
       the conduct of any business, trade or commerce or in the furnishing of any service.” N.Y.
       Gen. Bus. Law § 350. False advertising means “advertising, including labeling ... if such
       advertising is misleading in a material respect.” Id. § 350-a(1). Both provisions permit “any
       person who has been injured by reason of any violation” thereof to bring an action to
       recover damages or to enjoin the deceptive act or practice, or both. Id. §§ 349(h), 350-e(3).

       “The standard for recovery under General Business Law § 350, while specific to false
       advertising, is otherwise identical to § 349.” Goshen v. Mut. Life Ins. Co. of N.Y., 98 N.Y.2d
       314, 324 n.1 (2002); see also Gristede’s Foods Inc. v. Unkechauge Nation, 532 F. Supp.
       2d 439, 451 (E.D.N.Y. 2007) (the standards under Sections 349 and 350 are “substantively
       identical”). To state a claim under either section, “a plaintiff must allege that a defendant
       has engaged in (1) consumer-oriented conduct that is (2) materially misleading and that (3)
       plaintiff suffered injury as a result of the allegedly deceptive act or practice.” Orlander v.
       Staples, Inc., 802 F.3d 289, 300 (2d Cir. 2015) (quoting Koch v. Acker, Merrall & Condit
       Co., 18 N.Y.3d 940, 941 (2009)).

Sioux Honey, 2022 WL 125742, at *2–3.

       The key element in dispute here is whether the product label is materially misleading.

Whether a product label is materially misleading may be determined as a matter of law by the

Court. Fink v. Time Warner Cable, 714 F.3d 739, 741 (2d Cir. 2013) (per curiam). To determine

whether a product label is materially misleading, the Court asks whether “a significant portion of


                                                 5
the general consuming public or of targeted consumers, acting reasonably under the circumstances,

could be misled.” Jessani v. Monini N. Am. Inc., 744 F. App’x 18, 19 (2d Cir. 2018) (internal

quotation marks and citation omitted) (“plaintiffs must do more than plausibly allege that a ‘label

might conceivably be misunderstood by some few consumers.’”). This objective inquiry focuses

on the precise representations made on the product label. See, e.g., Axon v. Florida’s Nat.

Growers, Inc., 813 F. App’x 701, 705 (2d Cir. 2020) (“Florida’s Natural” brand name could not

mislead a reasonable consumer into believing the product did not contain traces of herbicide where

the packaging did not state it was “pure” or “100% natural”). “[I]n determining whether a

reasonable consumer would have been misled . . . context is crucial.” Fink, 714 F.3d at 742.

“[U]nder certain circumstances, the presence of a disclaimer or similar clarifying language may

defeat a claim of deception.” Id. (citation omitted). At the same time, however, “[r]easonable

consumers should [not] be expected to look beyond misleading representations on the front of the

box to discover the truth . . ..” Mantikas v. Kellogg Co., 910 F.3d 633, 637 (2d Cir. 2018) (citation

omitted).

        Evaluating the product label as a whole and after evaluating the allegations, the Court

concludes it is implausible that a reasonable consumer would be misled into believing the Product

contains no synthetic ingredients. First, the front label clearly states that the Product contains

“Salicylic acid 3%” directly besides the words “Antidandruff Shampoo” in font that is the same

size, style, color and visual prominence. DE 15, ¶ 6. No reasonable consumer would believe that

a product containing three percent salicylic acid is entirely free from synthetic ingredients. 3 Unlike


3
  Plaintiff does not allege that salicylic acid is an unnatural ingredient. See DE 15, ¶¶ 6-7 (salicylic acid not
included in list of synthetic Product ingredients alleged in the complaint). Although defendant’s disclaimer defense
is premised upon the assumption that the reasonable consumer would believe salicylic acid is artificial,
fascinatingly, salicylic acid can be obtained from white willow bark and wintergreen leaves. See “Salicylic acid,”
NIH National Library of Medicine, https://pubchem.ncbi.nlm.nih.gov/compound/Salicylic-acid, last accessed March
7, 2022; “Salicylic Acid,” American Chemical Society, https://www.acs.org/content/acs/en/molecule-of-the-
week/archive/s/salicylic-acid.html, last accessed March 7, 2022. Today, however, salicylic acid is commercially

                                                         6
in Mantikas v. Kellogg Co., where the disclosure of the number of grams of whole grain per serving

together with the claim of “WHOLE GRAIN” in large bold font falsely implied that the snack

product was entirely or predominantly whole grain, see 910 F.3d at 637, here the Product’s front

label specifies the exact proportion of salicylic acid: three percent. Second, the product label does

not claim “Selsun Blue Naturals” is “all natural” or “100% natural.” Rather, the term “Naturals”

appears only in the brand name. See Axon, 813 F. App’x at 705 (“Florida’s Natural” brand name

is not materially misleading because “natural” only appeared in the brand name and the packaging

did not state it was “pure” or “100% natural”). Third, the inactive ingredients on the back label

disclose the synthetic ingredients plaintiff complains of as well as a number of natural ingredients

such as lavender and rosemary extract, which supports the defendant’s use of the term “Naturals.”

DE 19-2 at 4.        See Reyes v. Crystal Farms Refrigerated Distribution Co., No. 18-CV-

2250(NGG)(RML), 2019 WL 3409883, at *3 (E.D.N.Y. July 26, 2019) (“made with real butter”

is not misleading because the ingredient list states the product contains both butter and margarine).

Finally, the back label states “Drug Facts” in bold font and gives a number of warnings advising

users to keep the Product away from children and contact Poison Control if swallowed. DE 19-2

at 4.

        Although a number of courts have found plausible deceptive acts and false advertising

claims in cases involving “natural” products, a line must be drawn. Here, the Product’s front label

conspicuously discloses that the shampoo is three percent salicylic acid, an ingredient which the

reasonable consumer would, it would seem, assume is unnatural. Plaintiff asserts that he and other



biosynthesized from phenylalanine. Id.; see Leger v. Kalitta, No. 16-CV-6545 (PKC)(PK), 2018 WL 2057142, at *3
(E.D.N.Y. Jan. 26, 2018) (“[T]he Court may take judicial notice of ‘documents retrieved from official government
websites.’”) (citation omitted); Mulberry Homes VI, LLC v. Gargiulo, No. CV 15-1913(DRH)(GRB), 2019 WL
5694133, at *6 n.7 (E.D.N.Y. Aug. 30, 2019) (court may take judicial notice of “confirming information provided
by commercial web sites”). Remarkably, the complaint makes allegations concerning “citric acid” noting that
although at one time this substance came from citrus fruit, this is no longer the case. DE 15, ¶ 7(g).

                                                       7
class members were defrauded because they “value natural products for important reasons,

including the belief that they are safer and healthier than alternative products.” DE 15, ¶ 5. Yet

such protestations seem misplaced where the principal ingredient prominently featured on the front

of the Product has long been known to be anything but safe and healthy. 4 As the front label of the

Product prominently identifies this chemical on the same line as the text which identifies the

product in the bottle, it seems implausible that a reasonable consumer could be misled.

         Two district courts have found that personal care products using the moniker “Naturals”

could mislead consumers as to the presence or predominance of natural ingredients, denying Rule

12 relief as to facially similar GBL claims. Paulino v. Conopco, Inc., 2015 WL 4895234, at *4–6

(E.D.N.Y. 2015) (denying motion to dismiss claim as to “Suave Naturals” branding as to products

that “contain primarily unnatural, synthetic ingredients”); Goldemberg v. Johnson & Johnson

Consumer Companies, Inc., 8 F. Supp. 3d 467, 471–72, 479–80 (S.D.N.Y. 2014) (claim that

“‘Active Naturals’ is deceptive because it conveys to consumers that the Aveeno products are

completely natural”). This case is readily distinguishable as the Product here prominently

displays, on both the front and back labels, the presence of a synthetic ingredient. Compare

Paulino, 2015 WL 4895234, at *5 (defendant relying upon “the FDA-mandated list of ingredients

on the back of the packaging”); Goldemberg, 8 F. Supp. 3d at 479–80 (observing that case featured

a label which “exclusively touts one particular aspect of the particular products” along with a

website that “focuses exclusively on the natural ingredients found in Aveeno products”). Thus,

these cases are inapposite. Finally, many of the cases cited by plaintiff are distinguishable from

the instant case because they involve product labels which do not merely contain the word



4
 See Commonwealth v. Kevin, 202 Pa. 23, 29, 51 A. 594, 596 (1902) (“There was ample evidence, if believed, to
warrant the jury in finding that salicylic acid is poisonous, and injurious to the human system. No other conclusion
would have been justified by the evidence.”).

                                                          8
“natural” in the brand name but instead describe the product as “natural.” See, e.g., Buonasera v.

Honest Co., Inc., 208 F. Supp. 3d 555, 559 (S.D.N.Y. 2016) (shampoo labelled “all natural,”

“plant-based,” and “no harsh chemicals ever!”); In re Frito-Lay N. Am., Inc. All Nat. Litig., No.

12-MD-2413 (RRM) (RLM), 2013 WL 4647512, at *1 (E.D.N.Y. Aug. 29, 2013) (snacks labelled

“all natural”); Silva v. Smucker Nat. Foods, Inc., No. 14-CV-6154 (JG) (RML), 2015 WL 5360022,

at *1 (E.D.N.Y. Sept. 14, 2015) (root beer labelled “[o]ur brew blends tradition and quality,

naturally”).

       Unjust Enrichment

       “Under New York law, a plaintiff may prevail on a claim for unjust enrichment by

demonstrating (1) that the defendant benefitted; (2) at the plaintiff’s expense; and (3) that equity

and good conscience require restitution.” Nordwind v. Rowland, 584 F.3d 420, 434 (2d Cir. 2009)

(internal quotation marks and citation omitted). The claim “is available only in unusual situations

when, though the defendant has not breached a contract nor committed a recognized tort,

circumstances create an equitable obligation running from the defendant to the plaintiff.” Corsello

v. Verizon N.Y., Inc., 18 N.Y.3d 777, 790 (2012). Although “an unjust enrichment claim is not

available where it simply duplicates, or replaces, a conventional contract or tort claim,” id., “a

plaintiff may plead unjust enrichment in the alternative to a breach of warranty claim[.]” Axon,

813 F. App’x at 706.

       Plaintiff alleges that defendant’s unlawful conduct enabled defendant to realize substantial

revenues from the Product to the detriment of plaintiff. DE 15, ¶ 72. As discussed supra, because

the Court finds that plaintiff has failed to state a claim that defendant’s product labelling is

materially misleading, plaintiff’s unjust enrichment claim is implausible as well. See Axon, 813

F. App’x at 706 (dismissing unjust enrichment claim for same reasons as deceptive acts and false



                                                 9
advertising claims). Hence, defendant’s motion to dismiss the unjust enrichment claim is granted

as well.

       Conclusion

       For the reasons stated herein, defendant’s motion to dismiss is granted in its entirety.

       SO ORDERED.

Dated: March 9, 2022
       Central Islip, New York
                                                     __/s/ Gary R. Brown_______________
                                                     HON. GARY R. BROWN
                                                     UNITED STATES DISTRICT JUDGE




                                                10
